        Case 4:21-cv-00220-RH-MAF Document 135 Filed 06/18/22 Page 1 of 1
                                                                                         Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



NETCHOICE, LLC et al.,

                  Plaintiffs,

v.                                                CASE NO. 4:21cv220-RH-MAF

ASHLEY BROOKE MOODY et al.,

                  Defendants.

____________________________________/


                                ORDER EXTENDING THE STAY


         The joint motion to extend the stay, ECF No. 134, is granted. All

proceedings in this court are stayed until the deadline for a petition to the Supreme

Court for a writ of certiorari passes without the filing of a petition or, if a timely

petition is filed, until certiorari is denied, or, if a petition is granted, until the

Supreme Court issues its decision.

         SO ORDERED on June 18, 2022.

                                     s/Robert L. Hinkle
                                     United States District Judge




Case No. 4:21cv220-RH-MAF
